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                                   1                                   UNITED STATES DISTRICT COURT
                                   2                               NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                   4                                                           Case No. 4:22-md-03047-YGR
                                   5   IN RE: SOCIAL MEDIA ADOLESCENT
                                       ADDICTION/PERSONAL INJURY                               APPLICATION FOR ADMISSION OF
                                   6   PRODUCTS LIABILITY LITIGATION                           ATTORNEY PRO HAC VICE;
                                                                                   ,           ORDER
                                   7                                                           (CIVIL LOCAL RULE 11-3)

                                   8
                                               I,   Jayne F. Winner           , an active member in good standing of the bar of
                                   9
                                       Missouri                               , hereby respectfully apply for admission to practice pro hac
                                  10                                                                  XL Insurance America, Inc.
                                       vice in the Northern District of California representing:                                           in the
                                  11                                                                   David Simonton
                                       above-entitled action. My local co-counsel in this case is                                       , an
                                  12   attorney who is a member of the bar of this Court in good standing and who maintains an office
Northern District of California
 United States District Court




                                  13   within the State of California. Local co-counsel’s bar number is:        199919              .
                                  14   Dentons US LLP                                          Dentons US LLP
                                       101 S. Hanley Road, Suite 600                           1999 Harrison Street, Suite 1210
                                  15   St. Louis, MO 63105-3435                                Oakland, CA 94612
                                        MY ADDRESS OF RECORD                                    LOCAL CO-COUNSEL’S ADDRESS OF RECORD
                                  16
                                       (314) 259-5906                                          415-882-0327
                                  17    MY TELEPHONE # OF RECORD                                LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD

                                  18   jayne.winner@dentons.com                                david.simonton@dentons.com
                                         MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD
                                  19
                                  20
                                               I am an active member in good standing of a United States Court or of the highest court of
                                  21                                                                                           71230
                                       another State or the District of Columbia, as indicated above; my bar number is:                             .
                                  22
                                               A true and correct copy of a certificate of good standing or equivalent official document from
                                  23
                                       said bar is attached to this application.
                                  24           I have been granted pro hac vice admission by the Court      0     times in the 12 months
                                  25
                                       preceding this application.
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                                   1          I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local
                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.
                                   4   Dated: April 22, 2025                                         /s/ Jayne F. Winner
                                                                                                     APPLICANT
                                   5
                                   6

                                   7
                                   8                                  ORDER GRANTING APPLICATION

                                   9                         FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11          IT IS HEREBY ORDERED THAT the application of Jayne F. Winner                          is
Northern District of California




                                       granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
 United States District Court




                                  12
                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: April 22, 2025

                                  16
                                  17                                                  HON. YVONNE GONZALEZ ROGERS
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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